
Spain, J.
Appeal from an order of the Family Court of Schenectady County (Taub, J.H.O.), entered September 12, 2011, which dismissed petitioner’s applications, in three proceedings pursuant to Family Ct Act article 6, to restore her parental rights to the subject children.
Pursuant to a March 1, 2007 order, which this Court affirmed (Matter of Gerald BB., 51 AD3d 1081 [2008], lv denied 11 NY3d 703 [2008]), petitioner’s parental rights to the subject children were terminated, and the children were placed in the custody of respondent and freed for adoption. In 2011, petitioner commenced these three proceedings seeking to restore her parental rights. Family Court dismissed the petitions on the ground that the youngest child had been adopted and the other two children were not “[14] years of age or older” as required by Family Ct Act § 635 (d). Petitioner appeals.
Petitioner’s counsel seeks to be relieved of her assignment on the ground that there are no nonfrivolous issues to be raised on appeal. Upon our review of the record and submissions, we agree. Accordingly, counsel’s application to be relieved of her assignment is granted (see Matter of Cheyenne T., 58 AD3d 1040, 1041 [2009]; see also Anders v California, 386 US 738 [1967]).
Mercure, J.E, Malone Jr., Kavanagh and Egan Jr., JJ., concur. Ordered that the order is affirmed, without costs, and application to be relieved of assignment granted.
